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                     ARGUMENT NOT YET SCHEDULED

                           APPEAL NO. 23-5062


                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


UNITED STATES OF AMERICA,                                          APPELLEE

                                    v.

DR. PETER K. NAVARRO,                                          APPELLANT.


                APPEAL FROM THE UNITED STATES
         DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


                       APPELLANT’S REPLY BRIEF


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1:22-cv-02292-CKK




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      The Parties agree, the Presidential Act provides no mechanism for the

compulsory return of Presidential Records no longer in the possession, custody or

control of the United States. Instead, the government asserts, Congress obviously

assumed the United States would institute causes of action pursuant to individual

State replevin statutes wherever it sought the return of Presidential Records. This,

the United States argues, is so because, “the Presidential Records Act was enacted

against a well-established history of the United States vindicating its property

rights using the same state-law remedies available to private individuals.” Br. at

19. The problem with this analysis is that it ignores the limitations imposed upon

our government – the United States – not imposed upon private individuals. See

U.S. Const. amend. IV (“The right of the people to be secure in their persons,

houses, papers, and effects, against unreasonable searches and seizures, shall not

be violated, and no warrants shall issue, but upon probable cause, supported by

oath or affirmation, and particularly describing the place to be searched, and the

persons or things to be seized.”).

      Consider the following hypothetical. The grandchild of a late dignitary – a

former senior presidential advisor – posts on social media that they affectionally

recall their grandparent showily flashing correspondence from the former President

the grandparent had served, and that the grandparent had kept from their time in

the administration. A Presidential record. There is no allegation of a crime, and



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thus no probable cause for any search by the United States. Yet because the

correspondence, if it exists, is, “the property of the United States,” Br. at 5, the

United States institutes an action in replevin against the grandchild and, when the

grandchild fails to produce the correspondence in question, demand access to all

the grandparent’s files to review and decide for itself whether any Presidential

Records are contained therein.

      No, these aren’t the facts of this case, but they aren’t far removed either.

Most recently, the United States contradicted itself when it advised the District

Court that:

      [T]he United States has not taken the position that every action that
      Defendant took in connection with the 2020 Presidential Election was
      done in his personal, and not official, capacity; nor has the United
      States taken the position that any communications related to the 2020
      Presidential Election are not Presidential records [and it is] possible
      that [Dr. Navarro / Appellant] conducted official business related to
      the 2020 Presidential Election over email, and that such emails would
      constitute Presidential records.

Brief, at 4, United States v. Navarro, No. 22-cv-2292 (D.D.C. Dec. 29, 2023) (ECF

No. 35). In addressing the District Court, the government further advised,

      The United States does not know whether [Dr. Navarro / Appellant]
      has withheld emails on the basis that they involve work [Dr. Navarro /
      Appellant] undertook in his personal capacity, nor does it know how
      [Dr. Navarro / Appellant] would define the contours of work
      conducted in his personal, as opposed to official, capacity.

Id. The plain insinuation is that the government seeks access to all of Dr.

Navarro’s emails for the purpose of making a claim as to purportedly official, as

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opposed to purely personal, records under the Presidential Records Act. The

United States make this demand, without any suggestion that there is probable

cause to pierce Dr. Navarro’s privacy interests.

      I.     The United States is Not Owed Judgment as a Matter of Law

      Ultimately, the United States advances a claim in search of a legal

justification. At the outset, the United States claims that replevin is the proper

vehicle for the recovery of electronic mail, arguing that the statute’s distinction of

“personal property” is meant solely to distinguish real property from all other types

of property. Br. at 20. However, the limited case law interpreting the D.C.

replevin statute casts doubt upon the claim that the distinction is real property

versus everything else. See Ficken v. AMR Corp., 578 F. Supp. 2d 134, 143

(D.D.C. 2008) (denying a replevin claim to recover frequent flyer miles from an

airline, because such miles were an intangible right and thus were not “personal

property”). See Appellant’s Br. at 13. Generally, real property is, “a term that is

applied to land and immovable property on land such as buildings.” See Real

Property, BLACK’S LAW DICTIONARY (2d Ed. 1910). If the United States’s theory

on the D.C. replevin statute’s limitation to personal property meaning anything

other than land and immovable property like buildings, then the Ficken case would

be wrongly decided: the Plaintiff in Ficken had a right to the materials he sought

and the materials he sought was not real property, yet an action of replevin was



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denied because the materials were “intangible rights” rather than personal property.

Ficken, 578 F. Supp. 2d at 143.

      Further still, the United States has consistently claimed that Dr. Navarro has

either “wrongfully taken” any Presidential records, or that Dr. Navarro was at the

time of filing the complaint “in possession of and wrongfully detain[ing]” any

Presidential records. See e.g., Br. at 23 (“Navarro continued to wrongfully

withhold the Presidential records. . .”). However, Dr. Navarro was at the time of

the creation of any Presidential records their proper custodian under the

Presidential Records Act. See 44 U.S.C. § 2201(2) (“The term ‘Presidential

records’ means documentary materials. . . created or received by. . . the President’s

immediate staff, or a unit or individual of the Executive Office of the President

whose function is to advise or assist the President, in the course of conducting

activities which relate to or have an effect upon the carrying out of the

constitutional, statutory, or other official or ceremonial duties of the President.”).

Further, the government has done nothing to establish that Dr. Navarro has

wrongfully detained any Presidential records that may have been in his possession,

as their theory of the case is based upon a nonexistent deadline under the statute

whereby Dr. Navarro must provide the documents to the National Archives and

Records Administration. Dkt. No. 1, at 2, 5 (“Under the PRA, at the end of a

presidential administration, the Archivist of the United States is required to



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‘assume responsibility for the custody, control, and preservation’ of Presidential

records and ‘make such records available to the public as rapidly and completely as

possible consistent with the provisions of this chapter.’”). Ultimately, the United

States did not prove wrongful taking or wrongful detention of Presidential records

to warrant summary judgment granting replevin, and it is the United States’s

burden as the movant to establish that there is no genuine dispute of material fact

and that they are entitled to judgment as a matter of law. See e.g. Coleman v.

District of Columbia, 794 F.3d 49, 57 (D.C. Cir. 2015).

      Finally, the United States cites to United States v. Kearns, 595 F.2d 729,

732-33 (D.C. Cir. 1978), for the proposition that even though 44 U.S.C. § 2209

only authorizes disciplinary actions against employees, such a provision can still

be interpreted to broadly allow the United States to advance their claims. Br. at

30-31. Ultimately, this once again mischaracterizes Dr. Navarro’s argument in this

matter. To accept the United States’s theory, the Court would need to hold that

even though specific terms and sections of the Presidential Records Act only

explicitly apply to electronic mail accounts, that the section can be interpreted to

apply to the entire statute in all contexts. The United States entire theory on this

case is that 44 U.S.C. § 2209, a more recent addition to the Presidential Records

Act which serves to provide an adverse action proceeding against covered

employees who willfully use electronic mail accounts to receive Presidential



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records, broadly applies to the rest of the Presidential Records Act. See e.g. Dkt.

No. 1, at 5-6, 10, 12. Indeed and as was highlighted in appellant’s principal brief,

much of the case law upon which the United States still relies to advance their

claims are case law from before the adoption of sections of the Presidential

Records Act upon which the United States’s complaint is based. Br. at 25-29.

      One of the principles of statutory construction requires that where,

“Congress includes particular language in one section of a statute but omits it in

another section of the same Act, it is generally presumed that Congress acts

intentionally and purposely in the disparate inclusion or exclusion.” Kapral v.

United States, 166 F.3d 565, 578 (3d Cir. 1999) (Alito, J., concurring) (quoting

Russello v. United States, 464 U.S. 16, 23 (1983)). However, using a medley of

unrelated case law to read nonexistent, broad rights and causes of action into a

narrow section of a statute flies in the fact of statutory interpretation.

      II.    The Major Questions Doctrine is Implicated in this Matter

      The United States claims that reference to, “Alabama Association of

Realtors v. Department of Health and Human Services, 141 S. Ct. 2485 (2021) (per

curiam), and other cases invoking the major questions doctrine is wholly

misplaced.” Br. at 31-32. The government bases this on a claim that, “this case

does not involve agency regulation of any kind much less any attempt to wield

‘vast economic [or] political powers.’” Br. at 32. To make such a claim, however,



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does not make it true. This case does involve an independent agency of the federal

government, and it seeks to apply a statute which affects the agency in a broad and

novel way with vast political impacts on future presidential administrations.

             A.     The National Archives and Records Administration is an
                    Executive Agency

      The National Archives and Records Administration is an independent

federal agency of the executive branch of the United States. See e.g., 44 U.S.C. §

2102 (“There shall be an independent establishment in the executive branch of the

Government to be known as the National Archives and Records Administration.

The Administration shall be administered under the supervision and direction of

the Archivist.”). Further still, the Presidential Records Act specifically refers to

actions which are to be taken by the Archivist or by the National Archives and

Records Administration in relation to Presidential records. See 44 U.S.C. § 2203.

As this matter involves a civil complaint filed under the Presidential Records Act,

the action does in fact involve “agency regulation” such that cases interpreting the

major questions doctrine can apply.

             B.     The Authority of an Executive Agency to Summarily Compel
             Production of Presidential Materials is an Issue of Major Political
             Significance

      The United States also notes that the major questions doctrine case law

requires an agency to take actions which affect “vast economic [or] political

powers” in order to be considered, before merely stating that this matter does not

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involve either category. Br. at 31-32. However, this is not the case. It can hardly

be said that the Presidential Records Act lacks vast economic significance where it

affects a broad range of federal employees of every single Presidential

Administration in the United States, as well as both the President and Vice

President themselves. 44 U.S.C. §§ 2203, 2207. Never before has the United

States of America sought the return of “Presidential records” from a former senior

presidential advisor through a State replevin action. Should the Court uphold the

district court’s summary judgment, the Presidential Records Act will have been

applied by a federal agency in a broad and novel manner which will affect all

future presidential administrations.

      It follows that Congress did not foresee the United States Executive Branch

reading authority into the Presidential Records Act that was not explicitly

bestowed, nor did Congress intend to grant broad authority to the National

Archives and Records Administration to invade upon former federal employees

personal electronic mail account solely because of an unfounded suspicion that the

account may contain Presidential records as defined under the Act.

                                  CONCLUSION

      Based on the foregoing, the district court’s decision must be reversed.

                         [SIGNATURE ON NEXT PAGE]




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 Dated: January 26, 2024         Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify, pursuant to Fed. R. App. P. 32(g) and Fed. R. App. P.

32(a)(7)(B), that the foregoing brief complies with the type-volume limitation

because it contains 1967 words, excluding those exempted by Fed. R. App. P. 32(f)

and D.C. Cir. Rule 32(e)(1). I further certify that this brief complies with the

typeface requirements of Fed. R. App. P. 32(a)(5) and the typeface style

requirements of Fed. R. App. P. 32(a)(6) because the brief was prepared in 14-

point Times New Roman fond using Microsoft Word.

                                                              /s/
                                              Stanley E. Woodward, Jr.



                             CERTIFICATE OF SERVICE

      I hereby certify, pursuant to Fed. R. App. P. 25(c), that on January 26, 2024,

the foregoing was electronically filed with the Clerk of the Court using the

CM/ECF system, which will send a notification to the attorneys of record in this

matter who are registered with the Court’s CM/ECF system.

                                                              /s/
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